Case 1:18-cv-00950-LO-JFA Document 262 Filed 08/23/19 Page 1 of 6 PageID# 7186



                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA

                                  )
SONY MUSIC ENTERTAINMENT, et al., )
                                  )
          Plaintiffs,             )
                                  )
     v.                           )                  Case No. 1:18-cv-00950-LO-JFA
                                  )
COX COMMUNICATIONS, INC., et al. )
                                  )
          Defendants.             )
                                  )

                       NONPARTY MARKMONITOR, INC.’S
                   RESPONSE TO DEFENDANTS’ MOTION TO SEAL

       Nonparty MarkMonitor, Inc. (“MarkMonitor”), through counsel, and pursuant to L. R. Civ.

5(C), hereby submits its response to Defendants’ Motion to Seal (ECF No. 243) requesting that

MarkMonitor’s information and materials remain under seal, and in support states as follows:

I.     APPLICABLE STANDARD

        “When a party moves to file material under seal because another party has designated that

material as confidential, the party designating the material as confidential must file a response to

the motion complying with requirements (2), (3), and (4) above along with a proposed order.” L.

R. Civ. 5(C). “The non-confidential memorandum shall include: …

               (2) A statement why sealing is necessary, and why another
               procedure will not suffice, as well as appropriate evidentiary support
               for the sealing request;
               (3) References to the governing case law, an analysis of the
               appropriate standard to be applied for that specific filing, and a
               description of how that standard has been satisfied;
               (4) Unless permanent sealing is sought, a statement as to the period
               of time the party seeks to have the matter maintained under seal and
               how the matter is to be handled upon unsealing.

Id.



                                                 1
Case 1:18-cv-00950-LO-JFA Document 262 Filed 08/23/19 Page 2 of 6 PageID# 7187



II.    ANALYSIS

       Defendants’ Motion requests that the Court seal Exhibits B, E, F, G, I, J, K, M, O, P, Q, S,

T, U, W, X, Y, and Z to the Leiden Declaration (ECF Nos. 239-2, 239-3, 239-4, 239-5, 239-6,

239-7, 239-8, 239-9, 239-10, 239-11, 239-12, 239-13, 239-14, 239-15, 239-17, 239-18, 239-19,

239-20) and portions of the Leiden Declaration that cite to Exhibits B, E, F, G, I, J, K, M, O, P, Q,

S, T, U, W, X, Y, and Z (collectively, the “Proposed Sealed Exhibits”). The Proposed Sealed

Exhibits contain information that MarkMonitor and Plaintiff have designated Highly Confidential

– Attorneys’ Eyes Only pursuant to the Stipulated Protective Order (ECF No. 60).

       Defendants’ publicly filed Memorandum of Law in Support of Their Motion for Discovery

Sanctions and to Preclude Plaintiffs’ Use of MarkMonitor Evidence (“Memorandum”) (ECF No.

238) contains additional information that must be sealed. Though Defendants redacted some of

MarkMonitor’s highly confidential, proprietary, and trade secret information in its Memorandum,

Defendants failed to protect all of MarkMonitor’s information that was marked Highly

Confidential – Attorneys’ Eyes Only by MarkMonitor as well as Plaintiffs and other non-parties.

For example, Defendants’ Memorandum discloses narratives of MarkMonitor’s proprietary, trade

secret verification process and business relationships. MarkMonitor will file a separate Motion to

Seal additional portions of the Memorandum as soon as possible.

       A.      Non-Confidential Description of Material Filed Under Seal.

       Exhibit B (ECF No. 239-2), Exhibit I (ECF No. 239-6), and Exhibit K (ECF No. 239-8)

are Excel spreadsheets containing highly confidential data showing evidence of infringement,

which was compiled by MarkMonitor’s proprietary verification process.

       Exhibit E (ECF No. 239-3) is an Excel spreadsheet containing highly confidential data

concerning MarkMonitor’s proprietary verification process.

       Exhibit F (ECF No. 239-4) contains screenshots showing metadata from Exhibit E. The

                                                 2
Case 1:18-cv-00950-LO-JFA Document 262 Filed 08/23/19 Page 3 of 6 PageID# 7188



metadata identifies elements of MarkMonitor’s proprietary verification process, such as creation

and modification dates.

       Exhibit G (ECF No. 239-5) contains screenshots of data from Exhibit E, which identifies

elements of MarkMonitor’s proprietary verification process, such as file names.

       Exhibit J (ECF No. 239-7) contains portions of the transcript from the deposition of

Slawomir Paszkowski, a MarkMonitor employee, containing highly confidential testimony

regarding MarkMonitor’s proprietary source code, proprietary verification process for showing

evidence of infringement, and the highly confidential Excel spreadsheet Bates stamped

MM000236 (Exhibit I – ECF No. 239-6).

       Exhibit M (ECF No. 239-9) is a highly confidential report MarkMonitor prepared for the

Motion Picture Association of America and the Recording Industry Association of America that

provides a detailed overview of MarkMonitor’s proprietary processes for monitoring, verifying,

and enforcing intellectual property infringements.

       Exhibit O (ECF No. 239-10) is a spreadsheet that contains data related to MarkMonitor’s

proprietary verification process.

       Exhibit P (ECF No. 239-11) is a spreadsheet that contains data related to MarkMonitor’s

proprietary verification process.

       Exhibit Q (ECF No. 239-12) contains portions of the transcript from the 30(b)(6)

deposition of Nonparty Audible Magic, containing elements of MarkMonitor’s proprietary

verification process.

       Exhibit S (ECF No. 239-13) contains portions of the transcript from the deposition of Sam

Bahun, a MarkMonitor employee, containing highly confidential testimony regarding

MarkMonitor’s data retention pursuant to confidential customer relationships.



                                                3
Case 1:18-cv-00950-LO-JFA Document 262 Filed 08/23/19 Page 4 of 6 PageID# 7189



       Exhibit T (ECF No. 239-14) is a 2011 Scope of Work and Exhibit U (ECF No.239-15) is

a 2011 Master Agreement between RIAA and DtecNet Inc., MarkMonitor’s predecessor company.

The Master Agreement sets forth MarkMonitor’s proprietary processes for addressing RIAA’s

particular online piracy issues.

       Exhibit W (ECF No. 239-17), Exhibit X (ECF No. 239-18), Exhibit Y (ECF No. 239-19)

and Exhibit Z (ECF No 239-20) are expert reports and testimony that contain MarkMonitor’s

proprietary source code and proprietary verification process for showing evidence of infringement.

They discuss at length data contained in Exhibits B, E, F, and G.

       B.      Sealing the Proposed Sealed Exhibits is Necessary to Protect MarkMonitor’s
               Confidential, Proprietary Source Code and Verification Processes Upon
               Which Its Business is Built and Maintains a Competitive Advantage.

       MarkMonitor is a technology company that develops software intended to protect

intellectual property owners from infringement, counterfeiting, fraud, piracy, and cybersquatting.

Relevant to this action, MarkMonitor was retained by plaintiff record labels and music publishers

to detect, report, and facilitate notification for infringement in the form of unauthorized downloads

of songs on peer-to-peer file sharing sites. MarkMonitor’s agreements with its customers, such as

Exhibit T, regarding the work MarkMonitor will perform are confidential and contain business

competitive information because the agreement sets forth MarkMonitor’s process. MarkMonitor’s

source code was developed to perform MarkMonitor’s verification processes that MarkMonitor’s

customers, such as the Sony Plaintiffs, pay MarkMonitor to perform. MarkMonitor’s source code

and verification processes are proprietary and kept confidential to maintain its competitive

advantage in intellectual property protection. Data generated from MarkMonitor’s source code

and verification process are also proprietary and confidential as it is the end product used by

MarkMonitor’s customers. The disclosure of the contents of the Proposed Exhibits would create



                                                 4
Case 1:18-cv-00950-LO-JFA Document 262 Filed 08/23/19 Page 5 of 6 PageID# 7190



a substantial risk of harm to MarkMonitor. MarkMonitor requests that the Proposed Sealed

Exhibits be permanently sealed.

       C.      Sealing Confidential, Proprietary, and Competitive Information Outweighs
               the Public Interest in Disclosure.

       Disclosure of “sources of business information that might harm a litigant’s competitive

standing” outweigh the common law right of public inspection.              See Nixon v. Warner

Communications, 435 U.S. 589, 598, 98 S. Ct. 1306, 55 L. Ed. 2d 570 (1978) (citing Schmedding

v. May, 85 Mich. 1, 5-6, 48 N. W. 201, 202 (1891); Flexmir, Inc. v. Herman, 40 A.2d 799, 800

(N.J.)). See also Woven Elecs. Corp. v. Advance Group, Inc., Nos. 89-1580, 89-1588, 1991 U.S.

App. 6004, at *17 (4th Cir. Apr. 15, 1991); East West, LLC v. Rahman, 2012 U.S. Dist. LEXIS

126242, at *7-8 (E.D. Va. Sept. 4, 2012) (granting motion to seal expert reports containing

“confidential business information and other trade secret protected information”).

       MarkMonitor’s source code, verification processes, and resulting data from running the

source code are the sources of information that establish MarkMonitor’s competitive advantage as

a technology resource for its customers and potential customers to protect their intellectual

property. Disclosure of the Proposed Sealed Exhibits would have severe financial repercussions

to MarkMonitor’s business and ability to attract and maintain customers.

       D.      MarkMonitor Requests Permanent Sealing of the Proposed Sealed Exhibits.

       MarkMonitor seeks permanent sealing of the Proposed Sealed Exhibits.

III.   CONCLUSION

       For the foregoing reasons, Nonparty MarkMonitor, Inc. respectfully requests that this

Court grant Defendants’ Motion to Seal.




                                                5
Case 1:18-cv-00950-LO-JFA Document 262 Filed 08/23/19 Page 6 of 6 PageID# 7191



Dated: August 23, 2019                       Respectfully submitted,


                                              /s/ Julia K. Whitelock
                                             Julia K. Whitelock, Esq. (VSB #79328)
                                             Gordon Rees Scully Mansukhani, LLP
                                             1101 King Street, Suite 520
                                             Alexandria, VA 22314
                                             202.399.1009
                                             202.800.2999 (Facsimile)
                                             jwhitelock@grsm.com

                                             Counsel for Nonparty MarkMonitor, Inc.



                                CERTIFICATE OF SERVICE

        I hereby certify that on this 23rd day of August, 2019, the foregoing was filed and served
electronically by the Court’s CM/ECF system upon all registered users.

                                             /s/ Julia K. Whitelock
                                             Julia K. Whitelock, Esq. (VSB #79328)
                                             Gordon Rees Scully Mansukhani, LLP
                                             1101 King Street, Suite 520
                                             Alexandria, VA 22314
                                             202.399.1009
                                             202.800.2999 (Facsimile)
                                             jwhitelock@grsm.com

                                             Counsel for Nonparty MarkMonitor, Inc.




                                                6
